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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:08CR3142
           v.                        )
                                     )
WILLIE LEE STURGIS,                  )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. The motion of counsel for defendant to withdraw,
filing no. 69, is granted and the clerk shall mail a copy of this
order to the defendant at his last known address.

     2. Defendant is given ten days from the date of this order
in which to either: (1) obtain the services of substitute counsel
and have that attorney file an appearance in his behalf or, (2)
file a financial affidavit setting forth his present financial
status, requesting the appointment of counsel.

     3. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
May 14, 2009, and May 28, 2009, shall be deemed excludable time
in any computation of time under the requirements of the Speedy
Trial Act, for the reason that the defendant does not have an
attorney. 18 U.S.C. § 3161(h)(8)(A) & (B).

     4. This case remains as the first criminal trial on the
July 13, 2009 trial docket before the Honorable Richard G. Kopf.


     DATED May 14, 2009.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
